      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 1 of 23


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9                           UNITED STATES DISTRICT COURT

10                          EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,             No. 2:15-CR-236-GEB
13                 Plaintiff,
14         v.                              ORDER GRANTING THE GOVERNMENT’S
                                           MOTION FOR REVOCATION OF THE
15   NELLI KESOYAN,                        MAGISTRATE JUDGE’S RELEASE ORDER
16                 Defendant.
17

18              The United States of America (the “Government”) moves,

19   ECF   No. 198,   for    revocation   of   the   Magistrate   Judge’s   order

20   releasing defendant Nelli Kesoyan (“Defendant”) on a secured bond

21   pending sentencing, ECF No. 196, arguing “Kesoyan has failed to

22   meet her burden to show by clear and convincing evidence that she

23   is not a flight risk or danger to any person.”               Gov’t Mem. of

24   P. & A. in Supp. of Mot. to Revoke (“Gov’t Mem.”) 4:5–7, ECF

25   No. 201.    Defendant opposes the motion arguing, the Magistrate

26   Judge’s “decision was sound, fully supported by a clear record,

27   and should not be disturbed because Mrs. Kesoyan demonstrated by

28   clear and convincing evidence that she is not likely to flee or
                                          1
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 2 of 23


1    pose any danger if released on the ordered bond and the stringent

2    conditions.”     Def. Opp’n to Mot. (“Def. Opp’n”) 2:19–23, ECF

3    No. 203.

4               Defendant    was   remanded     to     custody   after   the     jury

5    returned a guilty verdict on January 31, 2018.                The Government

6    then argued under 18 U.S.C. § 3143, that Defendant should be

7    remanded   pending   sentence    because    she    could    not   sustain   her

8    burden of proving by clear and convincing evidence that “she’s

9    not a risk of flight or a danger.”         Tr. of Trial, Jan. 31, 2018,

10   4:24-5:1, ECF No. 191.     The Government argued:

11              [T]he burden is now on the defendant. And
                she’s now convicted of crimes including
12              conspiring to lie to a federal agency and to
                obstruct, influence, or impede that agency’s
13              proceedings including by telling lies in
                person while under oath and sworn, submitting
14              false documents, including documents that she
                created while a social security employee on
15              official Social Security letterhead, and
                inducing    another   individual,    Ra[z]mik
16              Bagdasaryan, to sign an affidavit that was
                sworn before a notary and then submitted to
17              those agency proceedings. And the court has
                heard the testimony over the last couple of
18              weeks in that regard.
19                   The Government is also concerned that
                the defendant has provided perjured testimony
20              on the stand during the proceedings in the
                trial, and that the assurances the defendant
21              might make as to making appearances or not
                obstructing   or   interfering   with   other
22              individuals   including    --   well,   other
                individuals, should not be credited.
23
                     In this case, there was a no contact
24              order for the defendant not to contact
                Ra[z]mik Bagdasaryan. That the Government
25              would proffer that the defendant’s husband
                proceeded to contact that witness during the
26              course of the proceedings and ultimately, as
                laid out in the Government’s motion to admit
27              the statements of Ra[z]mik Bagdasaryan, which
                was filed January 13th of 2018, document
28              number 141, which the Government ultimately
                                      2
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 3 of 23


1                withdrew, but that laid out a basis for why
                 the Government believed that the defendant
2                was responsible or acquiesce in the causing
                 of the absence of Ra[z]mik Bagdasaryan, who
3                is now believed to be in Armenia on a one-way
                 ticket from the United States and did not
4                return for trial.

5                     So the Government has an ongoing concern
                 that a witness has already disappeared in
6                this case. So obstruction provides another
                 area of concern for the Government.
7
                      At bottom, Your Honor, the Government’s
8                concerned that the defendant has no respect
                 for federal agencies, or even the proceedings
9                here, and would not stop short of fleeing or
                 otherwise engaging in misconduct.
10
                      And for those reasons, the Government
11               would move to remand the defendant pending
                 sentencing.
12
     Id. at 5:4–16.
13
                 Defendant     rejoined,           arguing    in    essence:       “There       is
14
     nothing indicating that Ms. Kesoyan would not have respect for
15
     these     proceedings,       has    not       respected       this    court       and     its
16
     orders . . . .      She   has      no    criminal    history.        She    has    no    ties
17
     outside of the Sacramento community were she to flee. She’s not a
18
     flight risk.”        Id. at 7:13-24.               The district judge made the
19
     conclusory ruling: “I disagree. I think the Government’s correct.
20
     She’s remanded pending sentencing.”                     Id. at 8:3–4.             Defendant
21
     subsequently filed a motion for conditions of release to be heard
22
     by the duty Magistrate Judge, Def. Mot. for Bail Rev. Pending
23
     Sent’g,    ECF    No. 194,    and       the   Government      filed    an    opposition,
24
     Gov’t Opp’n to Mot. for Bail Rev. Pending Sent’g, ECF No. 195.
25
                 The    Magistrate       Judge     held   a    bail    review     hearing       on
26
     February 28, 2018, and ultimately “order[ed] Ms. Kesoyan released
27
     pursuant     to    the    $1.5 million            property       bond . . .        and     on
28
                                                   3
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 4 of 23


1    conditions . . . , and . . . order[ed the] release [of Defendant

2    be]   stayed . . .     for   10    days   to    permit    the      government

3    appeal . . . .”      Tr. of Bail Rev. Hr’g, Feb. 28, 2018, 37:14–19,

4    ECF No. 202.    The Magistrate Judge found as follows:

5               I am well aware that the defendant has been
                convicted and that pending sentencing . . .
6               there’s no longer a presumption for release,
                there’s a presumption for detention and she
7               has to overcome the flight risk presumption
                by clear and convincing evidence or a proffer
8               that clearly and convincingly demonstrate
                that conditions will prevent flight.
9
                . . . .
10
                     [T]he only question is whether she is
11              likely to skip town prior to sentencing. I
                understand   all   the    reasons  that    [the
12              Government   does    not]    think   she’s    a
                trustworthy individual.
13
                     [The Government has] raised serious
14              issues about her honesty and her character,
                and I understand [the Government’s] relevance
15              argument to flight risk, but . . . also, in
                my experience, lots of criminal defendants
16              and offenders who commit fraud offenses and
                have a constitutional inability to tell the
17              truth, nonetheless show up for court[;] there
                isn’t a necessary correlation there and I
18              think that a bond secured by $1.5 million in
                equity and ankle monitoring and the curfew
19              are going to get her to show up for
                sentencing, and that’s really the only
20              question in front of me.
21                   I’m concerned about these other issues
                as well. I’m aware that I’m imposing what
22              might be problematic supervision on Pretrial
                Services, but the legal question that I have
23              to ask is whether the conditions that the
                defense   is  offering   are   going  to  be
24              sufficient to ensure her appearance at court
                by a clear and convincing evidence standard
25              and I think that has been met.
26   Tr. of Bail Rev. Hr’g, 34:23–35:24.
27              The Government seeks review of the Magistrate Judge’s

28   release decision.      Under 18 U.S.C. § 3145(a)(1), “the attorney
                                          4
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 5 of 23


1    for   the   Government         may    file,    with      the   court     having      original

2    jurisdiction over the offense, a motion for revocation of the

3    order . . . .”          The district judge conducts a de novo review of

4    the Magistrate Judge’s order, by “mak[ing] its own independent

5    determination whether the magistrate’s findings are correct, with

6    no deference.”          United States v. Koenig, 912 F.2d 1190, 1193 (9th

7    Cir. 1990).

8                18 U.S.C. § 3143(a) prescribes: “the judicial officer

9    shall order that a [defendant] who has been found guilty of an

10   offense     and        who     is    awaiting      imposition       or     execution         of

11   sentence . . . be detained, unless the judicial officer finds by

12   clear and convincing evidence that the [defendant] is not likely

13   to flee or pose a danger to the safety of any other person or the

14   community if released under section 3142(b) or (c).”                              The clear

15   and convincing standard requires the party with the burden of

16   proof to provide “the ultimate factfinder an abiding conviction

17   that the truth of its factual contentions are ‘highly probable.’”

18   Colorado     v.    New       Mexico,    467       U.S.    310,    316    (1984)       (citing

19   2 McCormick On Evid. § 340 (7th ed.) (last updated 2016)); see

20   also United States v. Jordan, 256 F.3d 922, 930 (9th Cir. 2001)
21   (“stating that clear and convincing evidence ‘indicat[es] that

22   the   thing       to    be     proved    is     highly        probable    or    reasonably

23   certain.’”)       (citing       Black’s      Law    Dictionary      (7th       ed.    1999)).

24   “[P]ending     sentencing[,          t]he     burden     of    establishing          that   the

25   defendant will not flee or pose a danger to any other person or

26   to    the     community         rests       with     the       defendant.”            Fed. R.
27   Crim. P. 46(c).              Unlike pretrial release, a defendant who has

28   been found guilty by a jury and is awaiting sentencing is no
                                                   5
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 6 of 23


1    longer entitled to the presumption of innocence; hence, “there is

2    no automatic right to bail after convictions.”                     Harris v. United

3    States, 404 U.S. 1232, 1232 (1971) (citations omitted).

4                 Pretrial Services recommends that Defendant remains in

5    custody, stating in the Pretrial Services Report, dated February

6    28, 2018 (“PTS Report”):

7                 The   defendant   may   pose   a   risk   of
                  nonappearance . . . . [Defendant] has family
8                 in Armenia; [and] she has a history of
                  travel . . . .
9
                  . . . .
10
                       . . . Pretrial Services is concerned as
11                the defendant is pending sentencing, she may
                  have access to large amounts of money;
12                Pretrial    Services   may    not    have    a
                  comprehensive or complete understanding of
13                the defendant’s accounts and assets; and the
                  information contained in the Government’s
14                Motion [is of concern to Pretrial Services.]
15                     . . . Given    all   of   the . . .   noted
                  information    [in    the    Pretrial   Services
16                Report], Pretrial Services does not believe
                  there is a condition or a combination of
17                conditions which could reasonably mitigate
                  risk   of    non-appearance    in   this   case.
18                Therefore, it is respectfully recommended,
                  Your   Honor    order   the   defendant   remain
19                detained pending further proceedings.
20   PTS Report, Mem. Feb. 28, 2018 (“PTS Report”), at 6.
21                The        Government   argues      that   the   Magistrate      Judge’s

22   release order should be reversed, contending: “When determining

23   whether the defendant will appear at sentencing as ordered, the

24   Court      must    necessarily       determine     whether    it    can   trust    the

25   defendant’s promise to appear[, and here, t]he Court cannot rely

26   on   the    defendant’s       representations       that   she     will   appear   for
27   sentencing because her actions of defying oaths, tampering with

28   witnesses,        and    obstructing    justice    including       through   perjured
                                               6
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 7 of 23


1    testimony    and   a   perjured   defense    at   trial,   show    she    has   no

2    respect for the integrity of the Court’s proceedings.”                     Gov’t

3    Mem. 9:4–8.    The Government argues that Defendant’s long history

4    of lying to federal agents and of manipulating others to lie for

5    her, “are highly probative of whether this Court should now trust

6    her to not flee and to conform herself to the Court’s orders

7    [which] heavily favor[] the defendant’s detention.”                 Gov’t Mem.

8    12:5–9.     The Government further argues: “the defendant . . . is

9    an   untrustworthy     and   deceptive      individual     who    has    actively

10   endeavored to undermine the integrity of the legal system and

11   this Court.”       Gov’t Mem. 12:15–16.       The Government supports its

12   position with the following arguments, which is supported by the

13   record:

14                    As the evidence at trial showed, the
                 defendant   lied   under   oath  as   [Vanik]
15               Movsesyan’s translator on two occasions, she
                 orchestrated the obstruction of [the United
16               States Citizenship and Immigration Services
                 (“USCIS”)]’s investigation by encouraging her
17               husband and others to lie to [federal]
                 officers, and she disregarded [the] oath[]
18               she swore upon entering her [employment]
                 position[] with the SSA by knowingly creating
19               false SSA records and documents on multiple
                 occasions.[]   The defendant was not simply
20               obeying her husband, as she argued to [the]
                 Magistrate Judge . . . , but was directing
21               the criminal actions of her husband and
                 others. (Exhibit 3 at 78.)
22
                      Not only was she an active, willing, and
23               controlling participant in the conspiracy,
                 but her conduct cuts to the very core of her
24               reliability     and   trustworthiness.    The
                 defendant   knowingly   made  numerous  false
25               statements under oath during Movsesyan’s
                 citizenship interviews and she produced . . .
26               false documents on his behalf. The defendant
                 made false SSA documents and records by
27               exploiting the trust she was given as a
                 public employee and in violation of [the]
28               oath[] she swore to well and faithfully
                                       7
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 8 of 23


1              discharge her duties. She also had [Razmik]
               Bagdasaryan sign a false statement under oath
2              [that   Movsesyan  lived   at   Bagdasaryan’s
               address], without regard to the fact she was
3              subjecting    him  to    potential   criminal
               liability. (Exhibit 1.) The nature and
4              circumstances of the defendant’s conduct
               shows that she has no regard for the oaths
5              she swears or that others swear, and that she
               will knowingly make false statements even
6              under oath.

7                    The defendant’s conduct also indicates
               she holds no regard for the sanctity of
8              testimony     offered     under      oath.    As
               Bagdasaryan’s     statements    indicate,    the
9              defendant called Bagdasaryan on multiple
               occasions and told Bagdasaryan to lie to a
10             federal grand jury, heedless that she was
               again subjecting him to [potential] criminal
11             liability for perjury. (Exhibits 4, 5.) When
               confronted   with    this    attempted   witness
12             tampering at trial, however, the defendant
               stated she did not make such attempts and
13             tried    to   explain    away    phone   records
               corroborating    her   witness    tampering   by
14             claiming that she merely called Bagdasaryan
               around 11:00 p.m. to offer him some food.
15             (Exhibit 2 at 98) . . . .

16                  In   fact,   the   defendant’s   complete
               disregard for the sanctity of sworn testimony
17             is   underscored   by  her   many   perjurious
               statements made in the presence of this
18             Court. The defendant testified for most of a
               day (see Exhibit 3), and the jury plainly did
19             not credit her combative testimony on cross-
               examination, discredited her allegations that
20             her confession was coerced by law enforcement
               through pressure and threats during her
21             interview, and did not believe her varied
               excuses for her own conduct. In addition to
22             the jury’s conclusion that the defendant did
               not tell the truth on the stand, the
23             defendant was caught in several lies during
               her testimony, and those lies are relevant to
24             whether this Court should believe her when
               she says she will appear for sentencing.
25
                    The   defendant’s   lies   included   the
26             following . . . . [W]hen confronted with the
               audio recording of her phone call with Razmik
27             Bagdasaryan during his interview with USCIS
               investigators where she tried to have him
28             lie,   the   defendant  offered   a   perjured
                                         8
      Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 9 of 23


1               explanation for her conduct. She claimed on
                the stand that there had been a prior phone
2               call at the outset of the interview where
                Bagdasaryan told her he was having trouble
3               understanding the investigators, and that in
                the later call she was simply trying to
4               assist him in telling the truth. (See Exhibit
                3 at 15-17, 20.) But on cross-examination,
5               the defendant . . . admit[ted], in the face
                of phone records, that the purported first
6               phone call never happened. (Id. at 81-82.)
                Undeterred, on re-direct examination, the
7               defendant again claimed that the first phone
                call existed. (Id. at 115-116.) But again on
8               re-cross,    she . . .     admit[ted]    that
                the . . . phone call never happened. (Id. at
9               123.)

10                   [Further], the defendant testified that
                during   her   recorded   phone   call   with
11              Bagdasaryan during the USCIS interview, there
                was confusion during the beginning of the
12              interview because of the presence of a
                Russian language interpreter. (See Exhibit 3
13              at 19-20.) She testified that she was trying
                to assist Bagdasaryan through that issue, not
14              trying to direct him to lie. But, . . . when
                confronted with evidence, the defendant . . .
15              admit[ted] that there was no mention of a
                Russian interpreter until much later in the
16              interview. (See id. at 87-88.)

17                   [Part of Defendant’s] defense at trial
                was that rather than make a material false
18              statement on a key Social Security letter
                used in Movsesyan’s immigration proceedings,
19              the defendant simply made a “typo.” (See,
                e.g., Exhibit 3 at 12.) She . . . testified
20              [about] this on the stand . . . . [Defendant
                lied o]n the stand . . . that she create[d]
21              the typo because Movsesyan was on the phone
                with her while she was creating the letter,
22              and he distracted her. But when confronted
                with   phone  records,   the  defendant . . .
23              admit[ted] that she was not on the phone with
                Movsesyan at the time and that she had time
24              to review Movsesyan’s records before entering
                the information onto the letter. (Id. at 62-
25              63.)

26   Gov’t Mem. 9:26–12:2 (footnote omitted).           The Government raises

27   as an alternative argument, which further supports its contention

28   of   Defendant’s    untrustworthiness,     regarding     the   concern   of
                                          9
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 10 of 23


1    unverified   equity    in    the    property     securing    the   proposed

2    $1.5 million bond:

3              [T]he lack of . . . specific information
               about the properties that would secure a
4              proposed    bond    package    call[s]    its
               effectiveness into doubt and the Court should
5              therefore [conduct] an inquiry into the
               property designated as collateral. On the
6              government’s motion, “the court shall conduct
               an inquiry into the source of the property to
7              be designated for potential forfeiture or
               offered as collateral to secure a bond, and
8              shall decline to accept the designation, or
               the use of collateral, of property that,
9              because of its source, will not reasonably
               assure the appearance of the person as
10             required.” 18 U.S.C. § 3142(g)(4).
11                  The government has no information about
               the properties that the defendant proposes
12             should secure her release. Only on the day of
               her hearing did the defendant identify the
13             addresses of some proposed properties. The
               only evidence of their value has been an
14             “estimate” of the equity in two properties
               presented in her brother’s affidavit attached
15             to her motion. ECF No. 194-1 at 4. Indeed,
               even the owner of the second property did not
16             submit a declaration about his property or
               its value. The government and Court have no
17             facts related to the source and value of the
               proposed properties, and at this point the
18             Court cannot determine whether the proposed
               properties   are  sufficient   to  reasonably
19             assure the defendant’s appearance.
20   Gov’t Mem. 24:5–19.
21             Defendant    objects     to   the   Government’s   argument   that

22   Defendant is untrustworthy, arguing:

23             The   Government   argues   that . . .   Mrs.
               Kesoyan’s level of untrustworthiness is so
24             egregious that no conditions of release are
               sufficient. This position is based largely on
25             the facts adduced at trial relating to . . .
               Mrs. Kesoyan’s role in the overall conspiracy
26             and in the creation of the false government
               document. Whether based on her decision to
27             present her defense at trial or on some other
               perception   as   to   the   Defendant,   the
28             Government’s positon fails to account for the
                                    10
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 11 of 23


1              fact that the pretrial and post-conviction
               release of her codefendants, both identically
2              situated, apparently did not raise similar
               concerns on the part of the government
3              regarding flight and danger. The Government’s
               argument, taken to its logical conclusion,
4              assumes that any defendant convicted of a
               crime involving fraud, deceit, or dishonesty
5              could never be released pursuant to §3143.
               Such a conclusion is patently inconsistent
6              with the law and practical experience.

7    Def. Opp’n 11:7–18.     Defendant contends she is not a flight risk

8    due to “her critical ties to the community and [to] her family

9    [and t]he substantial property bond,” stating:

10             Mrs. Kesoyan is active in her church and has
               the support of her community. However, her
11             unique family ties are what most saliently
               demonstrate that she is not a flight risk.
12             Mrs. Kesoyan has a 22 year old son, Haik, who
               has   cerebral    palsy   and   developmental
13             disabilities. She is his main caregiver,
               helping him daily with basic self-care, meal
14             preparation, and transportation. TX 10:18-25.
               She is also the designated caregiver through
15             Sacramento County In Home Supportive Services
               (IHSS), for her mother-in-law, Lusik, who
16             suffers from dementia and kidney disease.
               Mrs. Kesoyan has been a principle caregiver
17             for Lusik for the past five years, and prior
               to that was a caregiver to Lusik’s husband
18             (Mrs. Kesoyan’s father-in-law), who is now
               deceased. DKT #194; TX 11:1-5. The fact that
19             Mrs.   Kesoyan’s    close   family   members,
               including her own disabled son, rely on her
20             for essential care and assistance powerfully
               demonstrates her strong ties to the community
21             and the decidedly low risk of flight in this
               case. There is simply no reason to believe
22             Mrs. Kesoyan would ever risk her own family’s
               physical wellbeing and deprive them of the
23             places where they have received care by
               failing to appear for her sentencing in this
24             matter, especially after a record of fully
               complying with the terms of her pretrial
25             release for the entire duration of this case.
               TX 11:11-22.
26
               . . . .
27
                    . . . The Defendant has an almost 18
28             year history as a well-regarded employee and
                                         11
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 12 of 23


1              was the regular recipient of awards for
               exceptional service. She is part of a closely
2              knit community of political refugees who fled
               Communism, an active member of her church,
3              and sufficiently involved in her church
               community to warrant her pastor attending
4              trial and appearing at the bail hearing to
               support her release. She has surrendered her
5              passport and appeared as required throughout
               the case.
6
                    . . . It is simply not reasonable to
7              believe that a mother would abandon her own
               profoundly disabled son, who cannot care for
8              himself, whom she has raised and taken care
               of for 22 years. As a devoted daughter and
9              daughter-in-law, Mrs. Kesoyan would most
               certainly not abandon her mother, who suffers
10             heart health problems, or her mother-in-law
               who is suffering from significant dementia.
11             She has two other children in Sacramento whom
               she would also not abandon. A person with
12             such a clearly demonstrated connection with
               her family would not jeopardize their care or
13             physical well-being to avoid the consequences
               of this case. It strains credulity to believe
14             that she would flee and deprive her family
               members of a place to live and forfeit her
15             brother’s home and the home in which her
               mother lives.
16
                    The substantial bond secured by her
17             family’s homes is more than sufficient to
               ensure   the   Defendant’s   appearance   for
18             sentencing in this case. There is simply
               nothing new or persuasive in the arguments
19             presented by the Government in its motion to
               revoke   [the  Magistrate]   Judge[’s]  Order
20             issued only after a thorough hearing, and the
               motion should be denied.
21
     Def. Opp’n 7:25–8:14, 13:5–27, 14:2–3.
22
               The Government disagrees with Defendant’s position on
23
     the flight risk issue and further supports its position arguing
24
     that Defendant, if released, has access to financial assets to
25
     flee prior to sentencing, as evinced by the “hidden, undisclosed
26
     assets” that she lied about when she communicated with Pretrial
27
     Services, Gov’t Mem. 17:13–18, and would not hesitate to flee, as
28
                                         12
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 13 of 23


1    evinced by the manner in which she has subjected her family and

2    friends to potential criminal liability, Gov’t Mem. 17:28–18:6.

3    The Government argues:

4               During [Defendant’s] interview with her pre-
                trial   [services]   officer,  the   defendant
5               reported that she had no assets in bank
                accounts.   Evidence   from   recorded   phone
6               calls[,   occurring    while   Defendant   was
                detained      post-convictions],      however,
7               indicates   that the    defendant has other
                substantial assets: a secret savings account
8               that contained $12,000, until the funds were
                withdrawn and hidden; the defendant’s 401(k)
9               account; and the tens of thousands of dollars
                that the defendant has received through an
10              online GoFundMe campaign and from cash
                donations. The fact that the defendant has
11              access to hidden, undisclosed assets should
                weigh heavily in the Court’s consideration.
12
                     Before [the] Magistrate Judge . . . ,
13              the defendant argued she was merely trying to
                hide money from her husband. However, as the
14              defendant noted [in] the January 31, 2018,
                call, “No-one knows about” the savings
15              account in her son’s name, which meant it was
                already    hidden  from   her  husband.   This
16              proffered excuse also does not ameliorate the
                concern raised by the additional undisclosed
17              assets to which the defendant has access.
                Rather, the logical and reasonable inference
18              from   the   facts   presented  is   that  the
                defendant is hiding money either to conceal
19              it from a possible fine, as she expressly
                discussed with her 401(k) account, or to
20              conceal assets that she can use to facilitate
                her flight should she be released. It is the
21              defendant’s     burden     to   clearly    and
                convincingly negate the reasonable inferences
22              that can be drawn from these facts, and she
                failed to do that.
23
     Gov’t   Mem.   17:13–27   (emphasis   in   original).     The      Government
24
     supports   its   position,   citing    the   following    post-conviction
25
     recorded jail telephone conversations and observations:
26
                [I]n   a  February   6,  2018,   phone  call
27              [Defendant had] with her daughter, Lia [or
                Leah], they discuss money in one of the
28              defendant’s accounts, [which] shows that the
                                     13
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 14 of 23


1              defendant and her daughter are considering
               how to hide the assets should the Court order
2              a fine:

3                    Leah: [Loud voices       in   the   background]
                     Your 401 account.
4
                     NK: Yeah!
5
                     Leah: Uh . . . It . . . did they touch
6                    it?

7                    NK: No, that stays! There is no end to
                     that.
8
                     Leah: [OV] I understand
9
                     NK: [OV] That’s my money.
10
                     Leah: Okay.
11
                     NK: They can’t do anything to it. No
12                   way! I also had thought about that a few
                     days ago.
13
                     Leah: Because, you had a thing . . .
14                   something like, the judge had said
                     that . . .    you   have    a   $250,000
15                   fine . . . That should be . . . uh . . .
                     the thing . . . uh . . . they will say
16                   if it’s for sure or not at the
                     sentencing. Something like that . . .
17                   There were [UI], that’s why I was
                     thinking, “Should I take it out of
18                   there . . . ?” That’s why . . . . I
                     don’t know . . .
19
                     NK: Um . . . I don’t know.
20
                     Leah: Listen! Those           rats . . .   that
21                   prosecutor . . . [.]

22             (Id. at 3.)

23                  Similarly, during a January 31, 2018,
               call with “Davo,” [who is believed to be the
24             husband of Defendant’s daughter, Lia,] the
               defendant directs Davo to move money out of a
25             secret bank account — which the defendant
               maintains under her disabled son’s name — and
26             hide it:
27                   NK: [00:03:23]

28                   No-one knows about this. I am telling
                                         14
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 15 of 23


1                    you   to  tell   Leah.    She  knows   my
                     password . . . uh . . . for Wells Fargo.
2                    Let   her   log  in . . .   “Armenia2016”
                     “123leo”. Let log in . . . Dav [PH],
3                    there is money in Savings. No-one knows
                     about this.
4
                     Davo: [OV] Yeah.
5
                     NK: Take out the money from the Savings
6                    and hide it. It’s under Hayk’s [PH]
                     name.
7
                     Davo: [OV]      Yes,     dear   Nell   [PH].   No
8                    problem.

9                    NK: [OV] Go to Wells Fargo with Hayk,
                     take out that money and hide it. Did you
10                   hear me?

11                   Davo: Yes, for sure! I will do that.

12                   NK: [OV] Okay. Hide that and I will tell
                     you what to do. Also, Dav [PH], Hayk’s
13                   [PH] pension/disability goes into his
                     checking.
14
                     Davo: [OV] Yes dear.
15
               (Exhibit 16 at 2.) Later in the same call,
16             the defendant tells Davo to take all of the
               gold jewelry out of the house and keep it in
17             the bank’s safe. (Id. at 4.) Later, she again
               directs Davo to hide her money:
18
                     NK: [00:12:02]
19
                     You remember, right? Write “Armenia2016”
20                   “123leo”.
21                   Davo: For sure!

22                   NK: Let her go into the account and take
                     care of everything. Let her go in
23                   everyday . . .   to  the   Savings . . .
                     Tomorrow, take Hayko [PH] and from the
24                   Savings . . .  there   is  $12,000   and
                     couple of hundreds there. Take out that
25                   money . . .

26                   Davo: [OV] Yeah.
27                   NK: And hide it. Take and hide it
                     somewhere, or give it to my mother. So
28                   that they don’t see that money, because
                                         15
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 16 of 23


1                    I have saved that money penny by penny.
                     [Pause]
2
                     Davo: For sure dear Nell [PH].
3
               (Id.) Finally, it appears that Lia comes onto
4              the line and the defendant again directs her
               to hide the money, which is held in her son’s
5              name and that nobody knows about: “Leah
               (sic), in the morning go and take that money
6              from Hayko’s [PH] account . . . from the
               Savings . . . and hide it. No-one should know
7              about that.” (Id. at 5.)

8                   . . . [T]he defendant has furthered her
               efforts to conceal assets during the pending
9              bail review litigation. For instance, on
               February 10, 2018, the defendant had a
10             conversation with her daughter (summarized
               below) about obscuring transferred assets
11             about which pre-trial officers had questions:

12                   Kesoyan talks about the paperwork the
                     authorities   have  that   indicate  her
13                   assets. She says she was questioned
                     about a money transfer that she did not
14                   do. Kesoyan states that the money
                     they’re talking about is the one that’s
15                   in the savings account that belongs to
                     Lia. She tells her daughter to make sure
16                   to tell them, if ever asked, that it was
                     not Kesoyan’s money. Kesoyan asks if
17                   that money is still in Lia’s savings
                     account. Lia confirms.
18
                     Kesoyan says: “Yes, then that’s your
19                   money. And you have transferred that
                     money to take care of the lawyer’s fees
20                   anyway.
21             (Exhibit 17 at 2.)

22   Gov’t   Mem.   14:21–22,    15:5–17:12     (alterations     in     original)

23   (emphasis in original) (footnote omitted).         The Government argues

24   that Defendant’s access to assets evinces that she is a flight

25   risk and that she is a person who cannot be trusted because of

26             [D]efendant[’s] consistent[] use[ of] her
               family to facilitate her criminal activities,
27             to help her manipulate the Court, and to
               assist her in hiding assets, without regard
28             to the fact that this conduct puts her family
                                         16
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 17 of 23


1               in [potential] jeopardy of their own criminal
                charges. Because the defendant puts her own
2               interests before those of her family, there
                is no reason the Court should believe that
3               she will not flee merely because of her
                family ties. The defendant has not shown by
4               clear and convincing evidence that she would
                not flee, either taking some of her family
5               with her or leaving them behind to be cared
                for by the rest of her family and the
6               community, as is currently happening.

7    Gov’t Mem. 17:28–18:6.

8               Defendant counters the Government’s argument regarding

9    hidden   assets,   arguing “the    asset   transfers    were   to   prevent

10   misuse of those funds by the defendant’s husband to support his

11   drug addiction and were disclosed and explained by the defendant

12   to the Pretrial Services Officer. TX 5:1-20.”          Def. Opp’n 9:6–8.

13   Defendant argues:

14                   The [assertions] that Mrs. Kesoyan will
                try to hide assets, flee the jurisdiction or
15              attempt   to    further    influence    potential
                witnesses . . .     were     rejected    by   the
16              Magistrate    Judge   no    doubt   because   the
                prosecution’s     interpretation     of   certain
17              facts,       while        perhaps       plausible
                hypothetically, do not approach a level of
18              certainty necessary to overcome the clear and
                convincing evidence that . . . Mrs. Kesoyan’s
19              appearance can be secured by a $1.5 million
                secured   bond    and   strict    conditions   of
20              release. Those conversations are inherently
                subject   to    dispute.     For   example,   the
21              Government offers a conversation recorded on
                February 9, 2018, during which Mrs. Kesoyan
22              discussed a potential witness who left the
                country prior to trial, and claims it shows
23              “the defendant and her family are staying
                engaged in tampering with any possible
24              investigation” of the witness. DKT #201 at
                18:20-23. The call transcript excerpts show
25              exactly the opposite of the government’s
                contention.     The    transcript     shows   the
26              Defendant saying that the situation is
                “interesting” and her husband responding to
27              “Forget about it.” The Defendant agrees,
                “What do I care?” DKT #201 at 18:1-18.
28
                                         17
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 18 of 23


1                    Regarding the hiding of assets, [the
                Magistrate] Judge . . . found that “those
2               conversations are certainly subject to a lot
                of interpretations. [The Government’s] is
3               plausible . . . but actually seems to be
                equally plausible reading of the statement
4               that the concern was to make sure that the
                $250,000 for a fine was saved from the
5               husband’s stealing for drug money, right,
                along with taking care of the son’s needs and
6               so   forth.”   TX    32:10-16.   Despite  the
                prosecutors’   attempts   to   undercut  this
7               finding, a Court need not disregard all other
                plausible, reasonable interpretations of the
8               conversation merely because the Government
                argues   to  the   contrary.   Moreover,  the
9               Government has failed to cite any authority
                for the proposition that Mrs. Kesoyan’s
10              stated interpretation of her own recorded
                jail calls are insufficient, when considered
11              with the entirety of the record or that
                Defendant is not entitled to the benefit of
12              the doubt if there is ambiguity. DKT #201 at
                fn 5. Finally, the Government’s position that
13              the proffer of equity in property as bail
                security is insufficient simply ignores the
14              manner in which bond orders are fashioned and
                accepted in this District, as already noted
15              at the bail hearing.

16   Def. Opp’n 11:19–12:21 (footnote omitted).

17              The Government is correct in its assertion that “[w]hen

18   determining whether the defendant will appear at sentencing as

19   ordered,   the    Court     must    necessarily   determine    whether     it   can

20   trust the defendant’s promise to appear.”               Gov’t Mem. 9:4–5.       The

21   Defendant’s      demeanor    when    she    testified   at   trial,   at   times,

22   evinced her utter disregard for the truth.                   As the Government

23   states, the trial record shows

24              agents   of   the   FBI   and   IRS  Criminal
                Investigations [saw Defendant with Movsesyan
25              in front of a federal building in Sacramento
                as they] were surveilling Movsesyan in the
26              course of [an] investigation [of credit card
                fraud of Movsesyan], and [became] aware of
27              [Movsesyan’s]   movements   between  Burbank,
                where Movsesyan lived, and Sacramento. These
28              agents also learned that Movsesyan had worked
                                                18
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 19 of 23


1              with the defendant to submit false documents
               during his immigration proceedings[, and] the
2              government then began to investigate those
               false documents, which implicated Movsesyan,
3              the defendant, and her husband, Grigor
               Kesoyan, in attempts to deceive immigration
4              officials, falsify government records, and
               tamper with grand jury witnesses.
5
                     . . . [I]n    January    2014,     Movsesyan
6              submitted a naturalization application to the
               Sacramento office of the Department of
7              Homeland    Security,    U.S.    Citizenship   and
               Immigration     Service    (“USCIS”).         That
8              application listed his address as being in
               Sacramento, California. [Movsesyan] included
9              with his application an official Social
               Security letter, prepared by the defendant,
10             that [falsely] contained a[n] address in
               Sacramento[, at which Movsesyan did not
11             reside]. The defendant served as Movsesyan’s
               sworn    interpreter   at    his    naturalization
12             interview, during which Movsesyan falsely
               affirmed under oath that he lived at the
13             Sacramento    address.       The    January   2014
               application was ultimately denied because
14             Movsesyan    had   a    disqualifying     criminal
               conviction within the applicable timeframe.
15
                     Movsesyan applied for naturalization
16             again in May 2014.         He again listed the
               Sacramento address in his application, and
17             included     with    his   application     another
               official Social Security letter, prepared by
18             the defendant, that [falsely] contained a[n]
               address in Sacramento[, at which Movsesyan
19             did not reside]. The defendant again served
               as Movsesyan’s sworn interpreter during the
20             interview, during which he again falsely
               affirmed    under    oath   that   he   lived   in
21             Sacramento. The same USCIS officer conducted
               this    second    interview,   and    again   told
22             Movsesyan that he would have to substantiate
               that he lived in Sacramento.        Following the
23             interview, the defendant was observed taking
               Movsesyan and his immigration attorney to the
24             Hyatt    Regency    hotel   and   then    to   the
               Sacramento airport, where they boarded a
25             flight to Burbank, California.

26                  Movsesyan   submitted    a     number   of
               fraudulent documents to USCIS purporting to
27             show that he resided at the Sacramento
               address.     USCIS’s   Fraud    Detection   and
28             National    Security     unit      subsequently
                                         19
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 20 of 23


1              investigated the documents and determined
               they   were   false.      Movsesyan’s  second
2              naturalization application was ultimately
               denied because Movsesyan had given false
3              testimony to obtain an immigration benefit.

4                   One document submitted to USCIS was an
               affidavit signed by Razmik Bagdasaryan, the
5              individual who resided at the Sacramento
               address claimed by Movsesyan.    (Exhibit 1.)
6              Bagdasaryan is the defendant’s brother-in-
               law.   On November 17, 2018, Bagdasaryan was
7              interviewed   by   USCIS  officers.      This
               interview was recorded, and excerpts of the
8              interview were admitted at trial. (Exhibit
               2.) At the beginning of the interview,
9              Bagdasaryan, who does not speak much English,
               called the defendant to have her translate
10             between him and the USCIS officers.       The
               recording captured the defendant telling
11             Bagdasaryan in Armenian that the officers
               were there to ask about a man named “Vacho.”
12             She told Bagdasaryan to tell the officers
               that Vacho lived at the house, but she also
13             told Bagdasaryan to say that he did not
               remember the specific dates and not to
14             provide more than “yes” or “no” answers. She
               told Bagdasaryan that she was coming over.
15             Instead of coming herself, however, the
               defendant sent her husband, Grigor, and
16             Bagdasaryan’s daughter because Bagdasaryan
               was not saying what he was “supposed” to say.
17             (Exhibit 3 at 87.)

18                  When   Bagdasaryan’s   daughter,  Hasmik
               Bagdasaryan, arrived she made her own false
19             statements about whether Movsesyan lived at
               the home.   Toward the end of the interview,
20             the defendant’s husband, Grigor Kesoyan,
               arrived and attempted to interfere with the
21             interview.   The USCIS officers visiting the
               home noted the discrepancies in the three
22             statements about when Movsesyan lived at the
               house, how they knew Movsesyan, and where
23             Movsesyan was at that moment.       The USCIS
               officer also observed that the room where
24             Movsesyan supposedly lived contained only
               women’s and children’s items.
25
                    While not introduced at trial because he
26             had flown to Armenia, Bagdasaryan was later
               interviewed by federal law enforcement agents
27             and admitted that he signed the affidavit
               containing Movsesyan’s address. (Exhibit 4.)
28             He told the agents that he did so at the
                                         20
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 21 of 23


1              defendant’s request.    Further, [Bagdasaryan
               told federal agents that] the document was in
2              English, which Bagdasaryan cannot read, and
               [that] the defendant [told him just to sign
3              the letter and she would explain to him
               everything     afterward.     (Id.)     A]fter
4              Bagdasaryan signed the document[, Defendant
               told him] that it was to let “Vacho” use
5              Bagdasaryan’s address.     Bagdasaryan again
               confirmed that Movsesyan did not live at the
6              address. He also told law enforcement agents
               that   after  they   learned   he   had   been
7              subpoenaed to testify before a federal grand
               jury, the defendant and Grigor Kesoyan made a
8              number of visits and phone calls in an
               attempt to influence his testimony before the
9              grand jury.   They told Bagdasaryan to tell
               the grand jury that Movsesyan lived at the
10             address. [(Id.)] When he appeared before the
               grand jury, however, Bagdasaryan [testified:
11             “She[, Nelli] told me to come and tell [the
               grand jury] the story a certain way, but I
12             came and I told you the real way.” (Exhibit 5
               at 10:19–20; see also] at 8–11.)
13
                    At trial, the government showed that
14             Movsesyan also submitted to USCIS a letter on
               Social    Security   Administration   (“SSA”)
15             letterhead that [states], “ACCORDING TO SSA
               RECORDS VANIK MOVSISYAN RESIDES IN SACRAMENTO
16             . . . SINCE 08/2009.” A subsequent SSA Office
               of   the   Inspector   General  investigation
17             determined that the defendant, who was then
               employed by SSA, created this letter and that
18             she also altered SSA records to indicate that
               Movsesyan lived in Sacramento. Though the
19             defendant [falsely testified] at trial that
               the letter was merely a “typo,” it contained
20             the same false information included in
               Movsesyan’s citizenship application and the
21             affidavit the defendant had Bagdasaryan sign
               under oath. In convicting the defendant, the
22             jury necessarily found she testified falsely
               at trial about the letter merely being a
23             “typo.”

24                  Eventually,     the      defendant      was
               interviewed   by   law    enforcement    agents.
25             (Exhibit 6.) During the interview, she
               admitted that she created the letter and that
26             she knew Movsesyan never lived at the
               Sacramento address. She told law enforcement
27             agents that she typed the information stating
               SSA   records   showed   Movsesyan    lived   in
28             Sacramento since 2009.         She said knew
                                         21
         Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 22 of 23


1                  Movsesyan did not live in Sacramento and she
                   was just “being stupid” when she created the
2                  letter. [(Id.)] The defendant was also asked
                   about the    [notarized letter]   signed by
3                  Bagdasaryan [attesting that Movsesyan lived
                   at Bagdasaryan’s address (Id. at 3)].    She
4                  stated that Bagdasaryan cannot read English
                   and that [therefore, he could not read the
5                  letter. (Id.)].

6                       At    trial,  the    defendant    [falsely
                   testified]    that  she    only   made    these
7                  admissions because the law enforcement agents
                   yelled at her and threatened her and her
8                  family. [(Exhibit 3 at 109:23–11:9.)] In
                   convicting     the   defendant,     the    jury
9                  necessarily found she testified falsely in
                   denying her confession.
10
     Gov’t Mem, 4:27–7:20.
11
                   Further,    Defendant’s     manifested     dishonesty    in   the
12
     record, combined with her access to hidden assets1 and her ties
13
     outside the United States evince that she cannot be trusted when
14
     she represents to the Court that she will not flee, if released.
15
     See United States v. Cerizo, 542 Fed.Appx. 641, 642 (9th Cir.
16
     2013) (stating Defendant’s “long history of dishonesty and ties
17
     outside . . . the United States provided an ample basis for
18
     denying his bail request.”).
19

20   1
       In addition to Pretrial Services concern about Defendant’s hidden assets,
     PTS Report, at 6, and the Government’s evidentiary support for the hidden
21   assets, Gov’t Mem. 14:21–22, 15:5–17:27, Defendant’s argument that she was
     hiding assets from her husband so that he did not use the funds for his drug
22   addiction, see Def. Opp’n 9:6–8, does not comport with her explicit direction
     in the recorded phone conversation to “[t]ake and hide it somewhere, or give
23   it to my mother[, s]o that they don’t see that money.”     Gov’t Mem. 16:23–25
     (emphasis added)(citation omitted).    Even if the inconsistency between her
24   grammar and intent was inadvertent and if Defendant is genuinely hiding assets
     from her husband, the fact remains that these assets are at Defendant’s
     disposal and support Pretrial Services’ concern that “defendant may have
25   access to large amounts of money [and] Pretrial Services may not have a
     comprehensive or complete understanding of the defendant’s accounts and
26   assets.”    PTS Report at 6.        Defendant’s access to financial means,
     collectively with her willingness to jeopardize family and friends’ well-being
27   by having them help her hide money from federal officials and with her
     evidenced untrustworthy conduct, demonstrate a high probability that Defendant
28   is likely to flee, if released.
                                             22
     Case 2:15-cr-00236-JAM Document 205 Filed 03/08/18 Page 23 of 23


1              Therefore, the Government’s motion is granted and the

2    Magistrate Judge’s ruling releasing Defendant on secured bond

3    pending sentence is revoked.

4    Dated:   March 8, 2018

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